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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                          CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA


     V.                                                Case No. 20-cr-00837-1

SIVA BROWN,

     DEFENDANT

                    ORDER ON DEFENDANT SIVA BROWN'S
                     JOINT MOTION FOR CONTINUANCE

    Defendant Siva Brown's Motion for Continuance is hereby:



                         GRANTED

                         DENIED



    Signed in Corpus Christi, Texas on this the _____ day of ________________, 2020.




                                       Drew B. Tipton
                                       United States District Judge
